Case 1:18-cv-01155-.]TN-ESC ECF No. 2 filed 10/15/18 Page|D.294 Page 1 ofE Resetpo,m

 

DATE. October Q, 2013 UN|TED STATES DlSTRICT COURT
REPLY TO
ma Jody a memorandum

 

SUBJECTr Possibly Related Case
CASE NUMBER: 1118*Cv-1155

 

C_..\SE CAp-HON; Muskegon, County of v. Purdue Pharma L.P. et al

  
 
   

TO: Magistrate Judge Carmod_v §

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Accordingtothe Comp|aint .‘Od_] U“ D"”l°“:°“"€°"<

>- ~~l
the attorney of record indicates this ease is related to the cases listed below: ‘ U[:T 1 5 2018

\‘”"Dj

Judge Pau| L. Maloney Case Number 1117-CV-‘l 114 \<'_, ` j

Case Number

 

Case Nurnber

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t/Case is%*iz Case ls not related )

Pursuant to Local Civil Rule 3.3(d)(iii)(A). civil cases are deemed related when a filed case:

_ (l) relates to property involved in an earlier numbered pending suit

14 (2) arises out of` sab're transaction or occurrence and involves one or more of the
same parties a a pending suit

__ (3) involves the validity or infringement ofa patent already in suit in any pending
earlier numbered case

(4) is a refiling of` an earlier case that was dismissed or remanded to state court

COMMENTS BY MAGISTRATE JUDGE:

 

 

 

 

Signature (,?

z Direct assignment performed @?\ /D' /®" l §§

Random assignment performed In{tijq)§/ Date

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